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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

THE BANK OF NEW YORK MELLON, | CASE NUMBER: 2:18-cv-00764-TSZ

Plaintiff,
vs: CORPORATE DISCLOSURE
KAREN D. SMITH, et al. STATEMENT
Defendants.

 

 

 

 

Pursuant to Fed. R. Civ. P. 7.1, Plaintiff The Bank of New York Mellon

(“BONY”) hereby files this disclosure statement and discloses the following:

DECLARATION OF NON-MILITARY STATUS 1

Malcolm ¢ Cisneros, A Law Corporation
2112 Business Center Drive, Second Floor
Irvine, CA 92612

 
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The Bank of New York Mellon Corporation, a Delaware corporation, is a
publicly held company. I am advised that no corporation owns more than 10% or more of

its stock.

Dated this 26" day of July, 2018

By: /e/ Grant Courtney
Grant Courtney, WSBA No. 16248

Attorney for Plaintiff Bank of New York
Mellon

Malcolm ¢@ Cisneros, A Law Corporation

2112 Business Center Drive, Second Floor
Irvine, California 92612

(949) 252-9400 (telephone)

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Irvine, CA 92612

 
 

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CERTIFICATE OF SERVICE
I hereby certify that I have served a true copy of the foregoing 1. CORPORATE
DISCLOSURE STATEMENT; on the below named individual(s) by mailing a copy in a sealed
postage paid envelope by first class mail and by certified mail, addressed as set forth below and

deposited in the U.S. Mail at Irvine, California:

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CHRISTINA L. HENRY
HENRY & DEGRAFF, PS

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VICENTE OMAR BARAZZA, ESQ.

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14245-F AMBAUM BLVD., SW
BURIEN, WA 98166

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DATED: July 27, 2018

PAGE 1

MALCOLM ¢ CISNEROS, A Law Corporation

/s/Diane Duran

 

Diane Duran

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